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qnade Corporate Center
i Colonnade Drive, SW

Suite 225
woke, Virginia 24018
hone 540-989-0500
Fax 540-989-2988

VIRGINIA:
IN THE CIRCUIT COURT FOR THE COUNTY OF PULASKI

JESSE C. THOMAS )
)
Plaintiff, )

v. ) Case No.: CL
WAL-MART STORES EAST, LP. )
Serve: CT Corporation System, Registered Agent )
4701 Cox Road, Ste. 285 )
Glen Allen, VA 23060 )
(County of Henrico) )
and )
)
WAL-MART INC )
)
and )
)
WAL-MART STORES, INC. )
)
and )
)
WAL-MART STORES EAST, INC, )
)
Defendants, )

COMPLAINT

COMES NOW the Plaintiff, Jesse C. Thomas, by counsel, and moves for judgment

against Defendants, Wal-Mart Stores East, LP, Wal-Mart Inc., Wal-Mart Stores, Inc., and Wal-

Mart Stores East, Inc., jointly and severally, on the grounds and in the amount hereinafter set

forth:

1. At all times pertinent hereto the Defendant, Wal-Mart Stores East, LP, is a
Delavan nitd partnership with its principal place of business in Bentonville, Arkansas.

a At all times pertinent hereto the Defendant, Wal-Mart Stores East, LP,

(hereinafter referred to as ‘“Wal-Mart’”’), does substantial business in the County of Pulaski in the

 

 

 

 
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} Colonnade Drive, SW
Suite 225
moke, Virginia 24018
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Fax 540-989-1888

Commonwealth of Virginia, and is in the business of managing and operating retail variety stores
lenwivtn as Wal-Mart, particularly Wal-Mart located at or about 5225 Alexander Road, Dublin,
Wirginia 24084, in the County of Pulaski, in the Commonwealth of Virginia (hereinafter referred
to as “the Store”).

3. At all times pertinent hereto the Defendant, Wal-Mart Inc., is a Delaware
Corporation with its principal place of business in Bentonville, Arkansas.

4, At all times pertinent hereto the Defendant, Wal-Mart Inc., (hereinafter

referred to as “Wal-Mart”), does substantial business in the County of Pulaski in the

Commonwealth of Virginia, and is in the business of managing and operating retail variety stores

known as Wal-Mart, particularly Wal-Mart located at or about 5225 Alexander Road, Dublin,
Virginia 24084, in the County of Pulaski, in the Commonwealth of Virginia (hereinafter referred
ito as “the Store”),

5. At all times pertinent hereto the Defendant, Wal-Mart Stores, Inc., is a
[Delaware Corporation with its principal place of business in Bentonville, Arkansas.

6. At all times pertinent hereto the Defendant, Wal-Mart Stores, Inc.,
(hereinafter referred to as Wal-Mart”), does substantial business in the County of Pulaski in the
Commonwealth of Virginia, and is in the business of managing and operating retail variety stores
known as Wal-Mart, particularly Wal-Mart located at or about 5225 Alexander Road, Dublin,
Virginia 24084, in the County of Pulaski, in the Commonwealth of Virginia (hereinafter referred
to as “the Store”). .

7, At all times pertinent hereto the Defendant, Wal-Mart Stores East, Inc., is a
Delaware Corporation with its principal place of business in Bentonville, Arkansas.

8. At all times pertinent hereto the Defendant, Wal-Mart Stores East, Inc.,

 

 
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Suite 225

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(hereinafter referred to as “Wal-Mart”), does substantial business in the County of Pulaski in the
Commonwealth of Virginia, and is in the business of managing and operating retail variety stores
_— as Wal-Mart, particularly Wal-Mart located at or about 5225 Alexander Road, Dublin,
Virginia 24084, in the County of Pulaski, in the Commonwealth of Virginia (hereinafter referred
to as “the Store”).

9. On or about February 11, 2020, the Plaintiff, Jesse C. Thomas, was an

invitee of Defendant, Wal-Mart, located at or about 5225 Alexander Road, Dublin, Virginia

24084, in the County of Pulaski, in the Commonwealth of Virginia.

10. At that time and place, Defendant, Wal-Mart, and their respective agents and
— had duties:

(a) to maintain the property, and the areas adjoining the property to which the
eon and general public was invited, including the Plaintiff, Jesse C. Thomas, in a reasonably

afe condition;

(b) to make reasonable inspections to determine whether any defects, unsafe, or
dangerous conditions existed;

 

(c) to remove and repair within a reasonable time any defect, unsafe, or

angerous conditions, that were known, or in the exercise of ordinary care should have been
own, by them, and their employees and agents, to be present or to present a danger to invitees
including the Plaintiff, Jesse C. Thomas;

(d) to warn invitees and the general public, including the Plaintiff, Jesse C.
Thomas, of any defects, unsafe or dangerous conditions, if unknown, or not reasonably expected
ito be known, to the Plaintiff, Jesse C. Thomas;

(e) to transport stock and arrange the stock in the display area of the store in a
safe and careful manner;

(f) to take other reasonable precautions under the circumstances.
11. Notwithstanding the said duties, Defendant, Wal-Mart, and their respective
agents and employees, created and negligently caused and allowed one or more dangerous

conditions to exist in, on or about the area of the property; to-wit:

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65 Colonnade Drive, SW
Suite 225
toanoke, Virginta 24018
Phone $40-989-0500
Fax 540-989-1888

(a) caused and allowed commercial material to be stocked to dislodge from the
tnachinery on which it was loaded;

(b) created a hidden hazard by maneuvering overstocked pallets during normal
me hours in the area where business invitees including the plaintiff were expected to walk,
Without warning the plaintiff of the items being transported;

(c) failed to make reasonable inspections to determine whether any defects, unsafe, or
dangerous conditions existed;

(d) failed to secure the load of stock which was being transported into the store for
stocking;

(e) failed to prevent the load of stock from falling off of the pallet creating an unsafe,
: dangerous condition involving heavy materials; that was known, or in the exercise of ordinary

 

are should have been known, by them, and their employees and agents. The unsafe condition
resented a danger to invitees including the Plaintiff, Jesse C. Thomas;

(f) failed to warn invitees and the general public, including the Plaintiff, Jesse C.
rhomas, of the existence of the hazard affecting the aisles, making them unreasonably dangerous
fpr invitees, including the Plaintiff, Jesse C. Thomas, to walk across; and

(g) failed to take other reasonable precautions under the circumstances.

12, Defendant, Wal-Mart, and their respective agents and employees, each knew,
dr reasonably should have known, of the existence of this dangerous condition.

13. Defendant, Wal-Mart, and their respective agents and employees, did not
warn the Plaintiff, Jesse C. Thomas, that this dangerous condition existed.

14, Defendant, Wal-Mart, is vicariously liable for actions, and failures to act, of
its respective agents and employees.

15. As a direct and proximate result of the negligence of the Defendant, Wal-
Mart, and their respective agents and employees, the contents of the Pallet that was being
transported by the agent and/or employee of Wal-Mart fell onto the Plaintiff, Jesse C. Thomas,

ith great force and violence, causing him to crash into shelving with great force and violence,

qausing him to sustain serious and permanent bodily injuries; including without limitation, he

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has suffered and will continue to suffer great pain of body and mind; has sustained permanent
disability; has suffered loss of income; has suffered loss of earning capacity; has suffered great
ren and mental anguish; and has incurred and will in the future incur hospital, doctors’
nd related expenses in an effort to treat and be cured of said injuries.

WHEREFORE, Plaintiff, Jesse C. Thomas, moves the Court for judgment against
Wefendants, Wal-Mart Stores East, LP, Wal-Mart Inc, Wal-Mart Stores, Inc., and Wal-Mart
Stores East, Inc., jointly and severally, in the sum of ONE MILLION DOLLARS

$1,000,000.00) together with prejudgment interest and his costs in this behalf expended.

THE PLAINTIFF DEMNDS A JURY TRIAL.
JESSE C. THOMAS

 

Counsel

 

enjamin J. Sykes, Esq., VSB#79127
KOLROOD LAW FIRM PC

965 Colonnade Drive, Suite 225
oanoke, VA 24018

elephone (540) 989-0500

acsimile: (540) 989-1888

mail: bsykes@skolrood;com
Counsel for Plaintiff

Skolrood

tay firun

‘onnade Corporate Center
65 Colonnade Drive, SW
Suite 225
oanoke, Virginia 24018
Phone $40-989-0500
Fax 540-989-1998

 
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VIRGINIA;

IN THE CIRCUIT COURT FOR THE COUNTY OF PULASKI
JESSE C. THOMAS,

Plaintiff,
Case No.: CL21-660
v,

WAL-MART STORES EAST, LP,
WAL-MART, INC.,

WAL-MART STORES, INC.,

and

WAL-MART STORES EAST, INC.,

Defendants.

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ANSWER

COME NOW the defendants, Wal-Mart Stores East, LP, Wal-Mart, Inc., Wal-Mart Stores,
Inc., and Wal-Mart Stores East, Inc. (collectively referred to herein as “Wal-Mart” or “defendants”),
by counsel, and file this Answer to the allegations contained in the plaintiff's Complaint and, in
support thereof, state as follows:

1. Wal-Mart admits the allegations stated in paragraph 1 of the plaintiff's Complaint.

2. With regard to paragraph 2, it is admitted that Wal-Mart Stores East, LP, operated the
Walmart store located in Dublin, Virginia, on or about the date at issue.

3, Wal-Mart admits the allegations stated in paragraph 3.

4, Wal-Mart denies the allegations set forth in paragraph 4, as stated.

5. Wal-Mart admits the allegations stated in paragraph 5.

6. Wal-Mart denies the allegations set forth in paragraph 6, as stated.

(i Wal-Mart denies the allegations stated in paragraph 7.

8, Wal-Mart denies the allegations stated in paragraph 8.
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9, With regard to paragraph 9, it is admitted that the plaintiff was on or near the premises
of the Walmart store located in Dublin, Virginia, on or about the date at issue.

10. Paragraph 10 and each of its subparts contain legal conclusions that need not be
admitted or denied. To the extent that paragraph 10 and each of its subparts state any factual
allegations, all such allegations are denied.

(a) Paragraph 10(a) states legal conclusions that need not be admitted or denied.
To the extent that paragraph 10(a) states any factual allegations, all such allegations are denied.
(b) Paragraph 10(b) states legal conclusions that need not be admitted or denied.
To the extent that paragraph 10(b) states any factual allegations, all such allegations are denied.
(c) Paragraph 10(c) states legal conclusions that need not be admitted or denied.
To the extent that paragraph 10(c) states any factual allegations, all such allegations are denied.
(d) Paragraph 10(d) states legal conclusions that need not be admitted or denied.
To the extent that paragraph 10(d) states any factual allegations, all such allegations are denied.
(e) Paragraph 10(e) states legal conclusions that need not be admitted or denied.
To the extent that paragraph 10(e) states any factual allegations, all such allegations are denied.
(f) Paragraph 10(f) states legal conclusions that need not be admitted or denied.
To the extent that paragraph 10(f) states any factual allegations, all such allegations are denied,
11. | Wal-Mart denies the allegations stated in paragraph 11 and each of its subparts.
(a) Wal-Mart denies the allegations stated in paragraph 1 1(a).
(b) Wal-Mart denies the allegations stated in paragraph 11(b).
(c) Wal-Mart denies the allegations stated in paragraph 11(c).
(d) Wal-Mart denies the allegations stated in paragraph 11(d).

(e) Wal-Mart denies the allegations stated in paragraph 11(e).
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(f) Wal-Mart denies the allegations stated in paragraph 11(f).
(g) | Wal-Mart denies the allegations stated in paragraph 11(g).

12. Wal-Mart denies the allegations stated in paragraph 6.

13. Wal-Mart is currently without sufficient information to admit or deny the allegations
stated in paragraph 13 and, therefore, denies the same.

14. Paragraph 14 states legal conclusions that need not be admitted or denied. To the
extent that paragraph 14 states any factual allegations, all such allegations are denied.

15. | Wal-Mart denies the allegations set forth in paragraph 15, as stated.

16. All allegations in the Complaint not expressly admitted herein are denied.

Affirmative and Separate Defenses

Wal-Mart states the following as its affirmative and separate defenses:

1. Wal-Mart denies that the plaintiff's incident occurred as described in his Complaint.

2. Wal-Mart denies being guilty of any act of negligence which proximately caused the
incident in question.

3. Wal-Mart denies breaching any legal duty owed to the plaintiff.

4, Wal-Mart affirmatively avers and will make the defense at trial that the plaintiff was
contributorily negligent and/or assumed the risk of his injuries, thereby barring his recovery herein,
should evidence supporting such defenses be developed during the course of discovery or at trial.

5. Wal-Mart affirmatively avers and will make the defense at trial that the condition
complained of was open and obvious to the plaintiff and, therefore, required no warning on its part,

should such a defense be developed during the course of discovery or at trial.
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6. Wal-Mart affirmatively avers and will make the defense at trial that the condition
complained of does not amount to an “unsafe condition” or “defect” under Virginia law, should
evidence supporting such a defense be developed during the course of discovery or at trial.

¥, Wal-Mart affirmatively avers and will make the defense at trial that the plaintiffs
injuries were caused by a third party or parties for whose actions it is not responsible at law, should
evidence supporting such a defense be developed during the course of discovery or at trial.

8. Wal-Mart reserves the right to rely upon any and all defenses available to it under the
law, specifically including, but not limited to, failure to file suit within the applicable statute of
limitations, accord and satisfaction, and/or failure to mitigate damages, should evidence supporting
such defenses be developed during the course of discovery or at trial.

9. Wal-Mart denies that the plaintiff was injured and damaged to the extent and with the
consequences alleged in the Complaint and, therefore, calls upon the plaintiff for strict proof of all
such alleged damages.

10. Wal-Mart demands a trial by jury.

WAL-MART STORES EAST, LP,
WAL-MART, INC.,

WAL-MART STORES, INC., and
WAL-MART STORES EAST, INC,

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Y Of Counsel
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C. Kailani Memmer (VSB No. 34673)

Victor S. ("Dinny") Skaff, If (VSB No. 40054)
Madison C. Guidry (VSB No, 95379)

GLENN ROBINSON CATHEY MEMMER & SKAFF PLC
Fulton Motor Lofts

400 Salem Avenue, S.W., Suite 100

Roanoke, Virginia 24016

Telephone: (540) 767-2200

Facsimile: (540) 767-2220
kmemmer@plennrob.com
yskafi@elennrob.com:

mguidry@glennrob.com

Counsel for Defendants

CERTIFICATE OF SERVICE
I hereby certify that on 18th day of January, 2022, a copy of the foregoing Answer was
sent by first-class mail to the following:

Benjamin J. Sykes, Esq. (VSB No. 79127)
SKOLROOD LAW FIRM PC

2965 Colonnade Drive, Suite 225
Roanoke, Virginia 24018

Telephone; (540) 989-0500

Facsimile: (540) 989-1888

bsykes@skolrood.:com

Counsel for Plaintiff jf ly,
By: We Be ail
